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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



 BAYLEY’S CAMPGROUND, INC.,                   )
 Cumberland County, State of Maine            )
 and                                          )
 FKT RESORT MANAGEMENT, LLC,                  )
 et al.                                       )
                                              )
                       Plaintiff              )
                                              )     Civil Action Docket No. ________________
 v.                                           )
                                              )
 GOVERNOR JANET MILLS, in her                 )
 capacity as the Governor of State of         )
 Maine                                        )
                                              )
                       Defendant              )



                           DECLARATION OF DOLORES HUMISTON

       Pursuant to 28 U.S.C. § 1746, the undersigned, Dolores Humiston, makes the following

declaration under penalty of perjury under the laws of the United States of America, that facts

contained herein are true and correct based upon my personal knowledge.

       1.      My name is Dolores Humiston and I live at 58 Powers Road, Meredith, New

Hampshire.

       2.      I am employed as a school teacher at the Inter-Lakes School District. I am

teaching remotely from my home and have only left my home to go grocery shopping since the

New Hampshire Shelter In Place Executive Order.

       3.      I am a seasonal camper at Bayley’s Campground in Scarborough, Maine.

       4.      In the spring and early summer, I use my camper on weekends until my

responsibilities as a teacher in New Hampshire are concluded for the school year.
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         5.     I have not been able to use my camper in Maine this season because of the State’s

requirement of a 14-day quarantine period.

         6.     Once my school responsibilities end in New Hampshire, I plan to travel to

Bayley’s Campground and spend the remainder of the summer in my camper.

         7.     I do not believe a 14-day quarantine period is necessary or appropriate for me

since I have had no contact outside my family since the New Hampshire Shelter In Place Order.

The only exception are occasional trips to the grocery store.

         8.     I have been observing the Stay at Home order in New Hampshire since March 26,

2020. The Stay at Home Order is now effective through May 31, 2020.

         9.     I have not displayed any symptoms of the COVID-19 disease and, to the best of

my knowledge, I do not have the COVID-19 disease.

         10.    Unless or until I have a diagnosis of COVID-19, which I do not have, or I have

symptoms associated with it, I believe it is unnecessary for me to self-quarantine when I travel to

my seasonal camper at Bayley’s Campground.

         11.    To my knowledge, there is no process for me to provide evidence to a neutral

court to determine whether the 14-day quarantine is necessary for me given that my routine is

indistinguishable for most Maine residents.

         Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of the

United States of America that the foregoing declaration is true and correct to the best of my

knowledge and belief and that such facts are made based on my personal knowledge.


Dated:    May 14, 2020                                /s/ Dolores Humiston
                                                      Dolores Humiston
